UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF NORTH CAROLINA

CHARLES GABRIEL,

versus
FORSYTH COUNTY CLERK OF
COURT MS. SUSAN FRYE OFFICE
OF THE 2 l ST JUDICIAL DISTRICT
COURT and her deputy assistant k lBC\l Z'EJLl
HOLLEY ROBINSON;
HOLLEY ROBINSON individually;
STATEBRIDGE COMPANY LLC;
BROUGHAM REO OWNER, LP;
JOHN A. MANDULAK,
HUTCHENS LAW FIRM;
JOHN A. MANDULAK individually
JOHN A MANDULAK TRUSTEE,
SUBSTITUTE TRUSTEE
SERVICES INC.

 

A CIVIL ACTION
FOR DECLARTORY RELIEF
AND EXPEDITED HEARING

 

 

THE ACTION

 

Plaintiff, Charles Gabriel, is domiciled in the State of North Carolina, City

Of STATESVILLE NORTH CAROLINA.

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 1 of 11

Plaintiff, Charles Gabriel a disabled veteran and is entitled to any priority
and preference available pursuant to Service Member Civil Relief Act pursuant to
Certiticate lDl\/[BKF24CDP36B280. Plaintiff herein requests this Honorable Court
to appoint a “Special l\/[aster” to represent him in these special proceeding

Plaintii`f did reside at lOll Keprechian Lane, Winston-Salem, NC 27104 at

the time of the foreclosure of this immovable property on August 31, 2016.

Defendants
Defendants are:
(l) Statebridge Cornpany LLC
(2) Brougharn REO OWner, LP current owner
(3) John A Mandulak, attorney at laW, Hutchens LaW Firrn
(4) John A Mandulak, Trustee, Substitute Trustee Services Inc.

(5) John A Mandulak, individually

(6) Forsyth County Clerk of Court for the 21St Judicial District of North
Carolina Susan Frye and her Deputy Holly Robinson

(7) Holley Robinson, individually

Jurisdiction and Venue

(l) This court has jurisdiction to hear and resolve this complaint pursuant

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 2 of 11

(2)

(3)

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(5)

(6)

(7)

to a violation of Equal Protection clause, Article 14 of the United
States Federal Constitution made available to the states through the
Fourteenth (14) amendment and North Carolina General Statutes Sec
45 - 21.16

This court has jurisdiction to hear and resolve this complaint under
diversity jurisdiction (some defendants have diversity).

This court has jurisdiction to hear and resolve this complaint by virtue
of 18 USCA Section 2685 pursuant to the protection against fraud and
mismanagement by its officers

This court has jurisdiction to hear and resolve this complaint by virtue
of violation of CFPB Application of Regulation Z, Ability-to-
Repay Rule in Certaill Situations Involving Successors-in-
Interest.

This court has jurisdiction to hear and decide pendant state court
issues.

The amount in controversy supersede $75,000.00 (seventy-five
thousand dollars).

The court has jurisdiction to hear and resolve this cause of action by

virtue of power to enforce the Fourteenth Amendment to enact the

ADA.

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 3 of 11

(8)

The Plaintiffs in this motion has been injured, as a result to the
Defendants deceptive actions in concert With the clerk in the
foreclosure action, and the false claims made by the clerk in her order
dated August 31St 2016 paragraph 4 and the concealment of vital
information by the clerk to the judiciary that Would have benefited the

Plaintiff’ s in this motion.

FACTURAL BACKGROUND AND CAUSE OF ACTION:

This cause of action arises from Plaintiff’ s violation of his 14th
Amendments rights to be heard at foreclosure hearing August 31St 2016.

On July 21st 2016 a petition Was served on the Plaintiff in this action
With notice of hearing prior to foreclosure of deed-of-trust dated April 19lrh
2007 recorded in Book RE 2762, Page 3903 in the Forsyth County Register
of Deeds.

In 2008 Johnny Gabriel transferred his entire interest to his son and
successor in interest prior to his death. Subsequently the co-borrower

transferred her interest to Charles Gabriel.
In late 2014 and 2015 the Plaintiff’ s notified Statebridge Cornpany

LLC, to become obligor of the note and deed of trust in accordance With

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 4 of 11

CFPB Regulation Z, Ability-to~Repay Rule in certain situations involving
Successors-In-lnterest and Modification of the same.

On the 20th day of July 2017 Statebridge Company, LLC initiated
foreclosure proceedings, both Barber and Gabriel were served. Plaintiff
Gabriel was listed as current record owner and co-defendant in the action
. commenced by Statebridge Company, LLC.

On August 31, 2016 a foreclosure hearing was scheduled in the
Special Proceedings’ office in Forsyth County at 1400hrs. Forsyth County
Court security video will reveal that the Plaintiff in this action arrived at the
Special Proceeding’s office at 1340hrs, and the assistant trustee on behalf of
the lender and Trustee for Substitute Trustee Services lnc. arrived at
l355hrs. At 1410hrs, the assistant clerk approached l\/Ir. Gabriel and
introduced herself as one Holley Robinson and asked for his name and to
state his business with the clerk’s office?

l\/[r. Gabriel responded by providing his name, thereafter stating that
he is a named co-defendant in the foreclosure action initiated by Statebridge
Company LLC, Wilmington Savings Fund Society, FSB and Primestar~H 1
Fund Trust along with Michelle Barber, the son and successor of the expired

Johnny Gabriel and the current record owner of said property in foreclosure

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 5 of 11

At 1420hrs, the clerk returned to the waiting area where Plaintiff in
this action was seated and conveyed to the Plaintiff that she was not
familiar with him and because his name did not appear on the Note and deed
of trust, had no standing in the case, Would not be provided an opportunity to
be heard and barred the defendant from the hearing, although the defendant
was a named Co-Defendant and the current record owner. In defiance of the
served foreclosure complaint on Mr. Gabriel which her office had issued
and states (paragraph 1) “you may attend the hearing and show cause why
the foreclosure should not proceed.” Ms. Robinson instructed the attorney
sitting next to the Plaintiff who she referred to as John who is believed to

be the substitute trustee to continue to her office for the hearing

John A. Mandulak of the Hutchens Law Firm did not show all
disclosures with the note and deed of trust such as the unresolved loan of the
previous owner because he was never challenged to do so, as a result to not

providing co-defendant a hearing

Newly discovered documents suggest the Attorney representing the
Lender was fully aware that the property which he was attempting to
foreclose had been encumbered by Richard B. Earls (previous owner) and

Wachovia Bank Which was later acquired by Well F argo owed more than

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 6 of 11

$200,000 (two hundred thousand dollars) had first lien position prior to the
action which prevented the Plaintiff in this action from getting refinanced,

yet it is believed he did not share that information with the clerk or Ms.
Robinson knew that Mr. Gabriel and Ms. Barber had been defrauded and
failed to set the foreclosure hearing aside due to fraud on part of the Lender.
.l\/lr. Mandulak was duty bound to the articles in the deed of trust signed by
the debtors, in particularly paragraph 4 page 5 of 14 which sets out that the
lender must notify borrower if lender discovers that lender is in a junior lien
position. Mr. Mandulak for Statebridge Company LLC settled the loan
without notifying the borrower/successor and current owner that bank was

in a secondary position or there was ever a lien.

Statebridge Company LLC failed to carry out its federally-imposed
duties which were owed to the Plaintiffs in this action prior to filing its
instant foreclosure lawsuit, Mortgage South, the original lender, now
defunct and no longer in business failed to provide the deceased with
answers when factual issues were raised relating to problems associated with
his home mortgage According to Federal regulations regarding mortgages,
a Plaintiff who initiates a foreclosure action, is required to adapt

effective collection techniques designed to meet the Defendants individual

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 7 of 11

10.

differences, and take in account their peculiar circumstances to minimize
default, their mortgage payments etc. as required by 24 C.F.R. 203.600.

Statebridge Company LLC stated in conversation with Plaintiff in this
proceeding that the best thing to do is to forget the mortgage because there
was no way a work out plan could be administered because he was not the
borrower and as such the Plaintiff in this action would not qualify as a result; .
without accepting an application

The representative at Statebridge Company LLC stated that the bank

was not interested in doing a modification on this loan and Plaintiff could

not become obligor of the same.

The Deputy Clerk one Holley Robinson is in violation of the Due
Process Clause of the 14th Amendment. “The Due Process Clause imposes
an affirmative obligation upon States to take such measures as are necessary
to ensure that individuals, including those with disabilities, are not deprived
of their life, liberty, or property without procedures affording ‘fundamental

fairness ’ ’ ’

The Deputy Clerk one Holley Robinson is in violation of her own

State’s General Statue which governs her ability to foreclose, as delineated

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 8 of 11

in Part 2 - Procedure for Sale, paragraph (c) (7) N.C.G.S. § 45-21.16 and

failed to meet the required criteria to do the same.

11. The clerk in her Order on August 31, 2016, misrepresented the facts
and perpetrated a fraud on this the honorable court of Forsyth County to
advantage the Lender and the substitute trustee. Notwithstanding the clerks
own forcible errors in this case, had the clerk not deprived the Defendant of
Notice and A Hearing; we would not be revisiting this matter today. The
order is Void. The clerk did not satisfy the 6 required standards to foreclose

and violated the Due Process Clause of the 14th Amendment of the US

Constitution.

Relief Desired

VVHEREFORE, the Plaintiffs in this proceeding respectfully request this
court declare the Writ of Seizure and any Judgments an absolute null Judgment to

Set Aside the order in favor of the Plaintiffs

1. Plaintiff herein desires a court declaration of right of parties herein to

consider.

Case 1:18-cV-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 9 of 11

2. Plaintiff herein did reside at property at the time of the wrong eviction.
Suffered irreparable harm when his due process rights under the 14th and
5 amendments were violated.

3. Plaintiff has established with clear and convincing evidence a prima facia
claim for unfair trade practices by showing (l) Plaintiff in the foreclosure
action committed unfair and deceptive acts and practices (2) the action in ,
question was in or affecting commerce (3) the act proximately caused

injury to the defendants in the foreclosure action.

Plaintiff in this petition has been injured as a result to the defendants
violation of his 14th amendment rights, deceptive actions in concert with the clerk
in the foreclosure action and the false claims made by the clerk in her order dated
August 31, 2016 paragraph 4 and the concealment of vital information by the clerk
to the judiciary that would have benefitted the Plaintiff in this action.

Plaintiff has suffered a wrongful seizure and is entitled to immediate return
to the premises with appropriate damages

In addition, Plaintiff is entitled to pendant state law claims for:

a. Defamation of character

b. Mental anguish

c. Embarrasment

d. Intentional infliction of harm

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Case 1:18-cv-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 10 of 11

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This jo day of %:E ,2018.

RESPECTFULLY SUBMITTED:

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CHARLE GAB

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Case 1:18-cv-00354-TDS-LPA Document 1 Filed 04/30/18 Paoe 11 of 11

